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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

RIO TINTO                                              )
                                                       )
                                USA / Plaintiff(s)     )
                                                       )
                 v.                                    )       Case No.: 14 CV 3042
                                                       )
VALE, S.A. , ET AL.                                    )
                                                       )
                                Defendant(s)           )
                                                       )
                                                       )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT


        Notice is hereby given that an official transcript of a proceeding type held on date
 proceeding held has been filed by the court reporter/transcriber in the above-captioned matter.

        Redaction responsibilities apply to the attorneys of record or pro se parties, even if the
 person requesting the transcript is a judge or a member of the public or media.

         The parties have seven (7) calendar days from the date of filing of this NOTICE to file
 with the court any NOTICE OF INTENT TO REQUEST REDACTION of this transcript. A
 copy of said NOTICE must also be served on the court reporter. If no such NOTICE is filed, the
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 Rule of Civil Procedure 5.2, and Federal Rule of Criminal Procedure 49.1. Parties wishing to
 request redaction of other information may proceed by motion.



                                                        /s LISA FELLIS
                                                       _________________________
                                                               Court Reporter
 Date:
